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                                    UNITED STATES DISTRICT COURT 
                                                    
                                    EASTERN DISTRICT OF LOUISIANA 
                                                    
NATALIE WALKER                                                    CIVIL ACTION NO. 
                                                             
VERSUS                                                            JUDGE:     
 
UNIVERSITY OF LOUISIANA SYSTEM BOARD OF               MAGISTRATE: 
SUPERVISORS THROUGH UNIVERSITY OF NEW 
ORLEANS, GEORGE BUDWELL F/K/A SHAWN                                                  
VINCENT, INDIVIDUALLY AND IN HIS OFFICIAL  
CAPACITY AS ASSISTANT PROFESSOR          
****************************************************************************** 

                                         PETITION FOR REMOVAL 

        The  petition  of  the  University  of  Louisiana  System  Board  of  Supervisors  Through 

University of New Orleans (“the Board”) for removal of the above captioned matter from the 

Civil  District  Court  for  the  Parish  of  Orleans,  State  of  Louisiana,  to  the  United  States  District 

Court for the Eastern District of Louisiana respectfully represents the following: 

                                                       1. 

        The Board is defendant in a civil action brought against it in the Civil District Court for 

the  Parish  of  Orleans,  State  of  Louisiana,  entitled  Natalie  Walker  v.  University  of  Louisiana 

System Board of Supervisors Through University of New Orleans, et al, No. 2018‐10673, Div. G, 

Sec. 11.  A copy of the citation and petition in that action is attached hereto and constitutes all 

process, pleadings, and orders served upon petitioner in said action. 




{00882533 ‐ v1}                                        1                                                         
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                                                    2. 

        The  aforesaid  action  was  commenced  by  suit  filed  in  the  Civil  District  Court  for  the 

Parish  of  Orleans  on  October  23,  2018.    Service  of  process  separately  upon  the  Louisiana 

Attorney General and the Director of the Office of Risk Management, as the Board’s designated 

agents for service of process, was obtained on March 19, 2019. 

                                                    3. 

        Plaintiff  in  the  state  court  proceeding  has  sued  the  Board  for  damages  allegedly 

sustained  as  a  result  of  the  Board’s  violation  of  federal  law,  specifically,  the  Fourteenth 

Amendment of the United States Constitution, Title IX of the Education Amendments of 1972, 

20 U.S.C. §1681, et seq, 42 U.S.C. §1983, and 42 U.S.C. §1988(b). 

                                                    4. 

        As alleged by plaintiff in her state court lawsuit, her cause of action against defendant is 

based primarily upon alleged violations of federal law. 

                                                    5. 

        Plaintiff’s suit is a civil action brought in a state court of which this United States District 

Court has original jurisdiction because of federal question jurisdiction arising under the above 

referenced federal constitutional and statutory provisions and is thus removable in accordance 

with 28 U.S.C. §1331, 28 U.S.C. §1441, and 28 U.S.C. §1446. 




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                                                     6. 

        Regarding  the  consent  requirement  set  forth  in  28  U.S.C.  §1446(b)(2)(A),  the  only 

defendant served thus far in the state court litigation is the removing defendant, the Board. 

                                                   7. 

        As of this date there are no matters pending in state court that will require resolution by 

this Court. 

        WHEREFORE,  the  University  of  Louisiana  System  Board  of  Supervisors  Through 

University  of  New  Orleans  prays  that  this  matter  be  allowed  to  proceed  in  this  Court  as  an 

action properly removed thereto. 

                                                 Respectfully Submitted,                                              
                                                        
                                                 BURGLASS & TANKERSLEY, L.L.C.  
 
                                                                                        
                                                 s/Dennis J. Phayer                                                                         
                                                 DENNIS J. PHAYER (10408) 
                                                 Email: dphayer@burglass.com 
                                                 GREGORY C. FAHRENHOLT (28572) 
                                                 Email: gfahrenholt@burglass.com 
                                                 5213 Airline Drive 
                                                 Metairie, Louisiana 70001‐55602 
                                                 Phone:    (504) 836‐0412 
                                                 Telefax:  (504) 287‐0452 
                                                  
                                                  
                                                  




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                                                 VERIFICATION 
 
        This  is  to  verify  that  the  attached  petition  for  removal  is  an  accurate  reflection  which 

entitles  the  named  petitioner  to  remove  this  case  to  the  United  States  District  Court  for  the 

Eastern  District  of  Louisiana,  and  that  the  attached  pleadings  represent  all  of  said  pleadings 

which  have  been  served  upon  petitioner  to  date  in  the  Civil  District  Court  for  the  Parish  of 

Orleans,  State  of  Louisiana,  in  the  matter  entitled  Natalie  Walker  v.  University  of  Louisiana 

System Board of Supervisors Through University of New Orleans, et al, Civil District Court for the 

Parish of Orleans, State of Louisiana, No. 2018‐10673, Div. G., Sec. 11. 

 
                                                  s/Dennis J. Phayer_____ 
                                                  DENNIS J. PHAYER 
 
 
 
 
                                          CERTIFICATE OF SERVICE 
 
        I  hereby  certify  that  on  the  20th  day  of  March,  2019,  I  have  electronically  filed  the 
foregoing  with  the  Clerk  of  Court  by  using  the  CM/ECF  system  and  have  emailed  a  copy  to 
plaintiff’s counsel. 
              
 
                                                  s/Dennis J. Phayer   
                                                  DENNIS J. PHAYER 
 




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